     Case 2:85-cv-04544-DMG-AGR Document 1338 Filed 04/14/23 Page 1 of 4 Page ID
                                     #:48317



 1   CENTER FOR HUMAN RIGHTS &
 2   CONSTITUTIONAL LAW
     Carlos Holguín (Cal. Bar No. 90754)
 3   256 South Occidental Boulevard
 4   Los Angeles, CA 90057
     Telephone: (213) 388-8693
 5   Facsimile: (213) 386-9484
 6   Email: crholguin@centerforhumanrights.email
 7   Attorneys for Plaintiffs
     (Additional counsel listed on next page)
 8
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
14
      JENNY LISETTE FLORES., et al.,            Case No. CV 85-4544-DMG-AGRx
15
16                   Plaintiffs,                DECLARATION OF MISHAN
                                                WROE IN SUPPORT OF
17          v.                                  PLAINTIFFS’ UNOPPOSED
18                                              MOTION FOR FINAL
      MERRICK B. GARLAND, Attorney
                                                APPROVAL OF SETTLEMENT
19    General of the United States, et al.,
                                                [DOC. #1329]
20                   Defendants.
                                                Hearing: April 14, 2023
21                                              Time: 10:00 a.m.
22                                              Hon. Dolly M. Gee
23
24
25
26
27
28
     Case 2:85-cv-04544-DMG-AGR Document 1338 Filed 04/14/23 Page 2 of 4 Page ID
                                     #:48318



 1   NATIONAL CENTER FOR YOUTH LAW
 2   Mishan Wroe (Cal. Bar No. 299296)
     Melissa Adamson (Cal. Bar No. 319201)
 3   Diane de Gramont (Cal. Bar No. 324360)
 4   1212 Broadway, Suite 600, Oakland, CA 94612
     Telephone: (510) 835-8098
 5   Email: mwroe@youthlaw.org
 6
     CHILDREN’S RIGHTS
 7
     Leecia Welch (Cal. Bar No. 208741)
 8   88 Pine Street, Suite 800, New York, NY 10005
 9   Telephone: (212) 683-2210
     Email: lwelch@childrensrights.org
10
     Attorneys for Plaintiffs
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     DECLARATION OF MISHAN WROE RE MOT.
                                                       FOR FINAL APPROVAL OF SETTLEMENT
                                                                    CV 85-4544-DMG-AGRX
     Case 2:85-cv-04544-DMG-AGR Document 1338 Filed 04/14/23 Page 3 of 4 Page ID
                                     #:48319



 1                             Declaration of Mishan Wroe
 2         I, Mishan Wroe, declare as follows:
 3      1. This declaration is based on my personal knowledge. If called to testify in
 4   this case, I would testify competently about these facts.
 5      2. I am counsel of record for Plaintiffs in the above-captioned case.
 6      3. I make this declaration in support of Plaintiffs’ Unopposed Motion for Final
 7   Approval of Settlement as required by the Court’s oral Order made during the
 8   April 14, 2023, hearing on that motion. ECF 1329.
 9      4. On August 29, 2022, Plaintiffs filed a Motion for Award of Attorneys’ Fees
10   and Costs (the “Motion”) under the Equal Access to Justice Act (“EAJA”), 28
11   U.S.C. § 2412(d). ECF 1282. In December 2022, the parties reached a settlement
12   agreement (“Agreement”) to resolve the Motion. See Joint Stipulation to Dismiss
13   EAJA Motion with Prejudice and Proposal Regarding Notice to Flores Class
14   Members of Settlement (“Joint Stipulation”). ECF 1310.
15      5. The Agreement was reached after the Parties engaged in arm’s length
16   negotiations.
17      6. Consistent with Federal Rule of Civil Procedure 23(e), the Parties submitted
18   a joint proposal for providing notice of the Agreement to Flores Class Members
19   (“the Notice”). ECF 1310-2.
20      7. The Court preliminary approved the Agreement and approved the Notice in
21   accordance with Federal Rule of Civil Procedure 23(e). The Court ordered
22   Defendants to post the Notice on the Office of Refugee Resettlement (“ORR”)
23   website in English and Spanish by January 18, 2023. ECF 1311.
24      8. Defendants posted the Notice in English and Spanish on ORR’s website on
25   January 12, 2023. The notice period ran for at least thirty days.
26      9. Pursuant to the Court’s Order, ECF 1311, on February 17, 2023, Plaintiffs’
27   counsel notified the Court that no objections had been received. ECF 1327. As of
28

                                               1
                                                          DECLARATION OF MISHAN WROE RE MOT.
                                                            FOR FINAL APPROVAL OF SETTLEMENT
                                                                          CV 85-4544-DMG-AGRX
     Case 2:85-cv-04544-DMG-AGR Document 1338 Filed 04/14/23 Page 4 of 4 Page ID
                                     #:48320



 1   the date of this declaration, Plaintiffs have still not received any objections to the
 2   Agreement.
 3         I declare under penalty of perjury that the foregoing is true and correct.
 4   Executed this 14th day of April, 2023, at Oakland, California.
 5
 6                                           /s/ Mishan Wroe
 7                                           Mishan Wroe

 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                2
                                                            DECLARATION OF MISHAN WROE RE MOT.
                                                              FOR FINAL APPROVAL OF SETTLEMENT
                                                                            CV 85-4544-DMG-AGRX
